     Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 1 of 9




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

LAQUASHEA TURNER,                          )
                                           )
                 Plaintiff,                )      CIVIL ACTION NO.
v.                                         )
                                           )      1:23-cv-00394-TWT-JKL
MANNING AND ASSOCIATES                     )
SECURITY, LLC, and WAYNE                   )
MANNING                                    )
                                           )
                 Defendants.               )


      DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                   PLAINTIFF’S COMPLAINT

        Defendants, Manning and Associates Security, LLC and Wayne Manning

(“Defendants”), through undersigned counsel and pursuant to Federal Rules of

Civil Procedure 8 and 12, answer the Complaint (Doc. 1) filed by Plaintiff,

Laquashea Turner (“Plaintiff”), and assert defenses and affirmative defenses as

follows:

                               INTRODUCTION

        Defendants deny all of the allegations of the unenumerated introduction

     paragraph of the Complaint.



                                       1
                                                             www.spirelawfirm.com
                                                             Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 2 of 9




                                   PARTIES

1. Defendants are without sufficient knowledge as to Plaintiff’s residency and

   therefore, deny the allegations of Paragraph 1 of the Complaint.

2. Defendants deny the allegations of Paragraph 2 of the Complaint.

3. Defendants admit the allegations of Paragraph 3 of the Complaint.

4. Defendants deny the allegations of Paragraph 4 of the Complaint in their

   entirety.

5. Defendants admit the allegations of Paragraph 5 of the Complaint.

6. Defendants admit the allegations of Paragraph 6 of the Complaint.

                         JURISDICTION AND VENUE

7. Defendants admit that jurisdiction is appropriate in this Court, but otherwise

   deny the allegations of Paragraph 7 of the Complaint.

8. Defendants admit that venue is proper in this Court but otherwise deny

   Paragraph 8 of the Complaint.

                CONDITIONS PRECENDENT SATISFIED

9. Defendants are without sufficient knowledge and therefore, deny the

   allegations of Paragraph 9 of the Complaint.

10.Defendants are without sufficient knowledge and therefore, deny the

   allegations of Paragraph 10 of the Complaint.

                                       2
                                                              www.spirelawfirm.com
                                                              Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 3 of 9




11.Defendants are without sufficient knowledge and therefore, deny the

   allegations of Paragraph 11 of the Complaint.

                                   FACTS

12.Defendants admit the allegations of Paragraph 12 of the Complaint.

13.Defendants deny the allegations of Paragraph 13 of the Complaint.

14.Defendants deny the allegations of Paragraph 14 of the Complaint.

15.Defendants deny the allegations of Paragraph 15 of the Complaint.

16.Defendants deny the allegations of Paragraph 16 of the Complaint.

17.Defendants deny the allegations of Paragraph 17 of the Complaint.

18.Defendants admit the allegations of Paragraph 18 of the Complaint.

19.Defendants deny the allegations of Paragraph 19 of the Complaint.

20.Defendants deny the allegations of Paragraph 20 of the Complaint.

21.Defendants deny the allegations of Paragraph 21 of the Complaint.

22.Defendants deny the allegations of Paragraph 22 of the Complaint.

23.Defendants deny the allegations of Paragraph 23 of the Complaint.

24.Defendants deny the allegations of Paragraph 24 of the Complaint.

25.Defendants deny the allegations of Paragraph 25 of the Complaint.

26.Defendants deny the allegations of Paragraph 26 of the Complaint.

27.Defendants deny the allegations of Paragraph 27 of the Complaint.

                                      3
                                                            www.spirelawfirm.com
                                                            Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 4 of 9




28.Defendants deny the allegations of Paragraph 28 of the Complaint.

                          COUNT I
     HOSTILE ENVIRONMENT - SEXUAL HARASSMENT AND
   TANGIBLE EMPLOYMENT ACTION/QUID PRO QUO SEXUAL
                      HARASSMENT
                 (Against Manning Security)

29.Defendants repeat each and every response to the allegations contained in the

   preceding paragraphs of this Complaint. 29

30.Paragraph 30 of the Complaint sets forth a legal conclusion for which

   Defendants cannot admit or deny. To the extent a response is required,

   Defendants deny the allegations in Paragraph 30 of the Complaint.

31.Paragraph 31 of the Complaint sets forth a legal conclusion for which

   Defendants cannot admit or deny. To the extent a response is required,

   Defendants deny the allegations in Paragraph 51 of the Complaint.

32.Paragraph 32 of the Complaint sets forth a legal conclusion for which

   Defendants cannot admit or deny. To the extent a response is required,

   Defendants deny the allegations in Paragraph 32 of the Complaint.

33.Defendants deny the allegations of Paragraph 33 of the Complaint.

34.Defendants deny the allegations of Paragraph 34 of the Complaint.

35.Defendants deny the allegations of Paragraph 35 of the Complaint.

36.Defendants deny the allegations of Paragraph 36 of the Complaint.

                                       4
                                                             www.spirelawfirm.com
                                                             Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 5 of 9




37.Defendants deny the allegations of Paragraph 37 of the Complaint.

38.Defendants deny the allegations of Paragraph 38 of the Complaint.

39.Defendants deny the allegations of Paragraph 39 of the Complaint.

40.Defendants deny the allegations of Paragraph 40 of the Complaint.

41.Defendants deny the allegations of Paragraph 41 of the Complaint.

42.Defendants deny the allegations of Paragraph 42 of the Complaint.

43.Defendants deny the allegations of Paragraph 43 of the Complaint.

44.Defendants deny the allegations of Paragraph 44 of the Complaint.

45.Defendants deny the allegations of Paragraph 45 of the Complaint.

                             COUNT II
             RETALIATION IN VIOLATION OF TITLE VII
                 (Against Defendant Manning Security)

46.Defendants repeat each and every response to the allegations contained in the

   preceding paragraphs of this Complaint. 46

47.Defendants deny the allegations of Paragraph 47 of the Complaint.

48.Defendants deny the allegations of Paragraph 48 of the Complaint.

49.Defendants deny the allegations of Paragraph 49 of the Complaint.

50.Defendants deny the allegations of Paragraph 50 of the Complaint.

51.Defendants deny the allegations of Paragraph 51 of the Complaint.



                                       5
                                                             www.spirelawfirm.com
                                                             Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 6 of 9




                           COUNT III
             NEGLIGENT TRAINING AND SUPERVISION
                    (Against Both Defendants)

52.Defendants repeat each and every response to the allegations contained in the

   preceding paragraphs of this Complaint. 52

53.Paragraph 53 of the Complaint sets forth a legal conclusion for which

   Defendants cannot admit or deny. To the extent a response is required,

   Defendants deny the allegations in Paragraph 53 of the Complaint

54.Defendants deny the allegations of Paragraph 53 of the Complaint.

55.Defendants deny the allegations of Paragraph 54 of the Complaint.

56.Defendants deny the allegations of Paragraph 55 of the Complaint.

57.Defendants deny the allegations of Paragraph 56 of the Complaint.

58.Defendants deny the allegations of Paragraph 57 of the Complaint.

59.Defendants deny the allegations of Paragraph 58 of the Complaint.

60.Defendants deny the allegations of Paragraph 59 of the Complaint.

61.Defendants deny the allegations of Paragraph 60 of the Complaint.

                          COUNT IV:
        BATTERY, PUNITIVE DAMAGES, ATTORNEYS’ FEES
                    (Against both Defendants)

62.Defendants repeat each and every response to the allegations contained in the

   preceding paragraphs of this Complaint. 61

                                       6
                                                             www.spirelawfirm.com
                                                             Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 7 of 9




63.Defendants deny the allegations of Paragraph 62 of the Complaint.

64.Defendants deny the allegations of Paragraph 63 of the Complaint.

65.Defendants deny the allegations of Paragraph 64 of the Complaint.

66.Defendants deny the allegations of Paragraph 65 of the Complaint.

67.Defendants deny the allegations of Paragraph 66 of the Complaint.

                              PRAYER FOR RELIEF

      In response to WHEREFORE Paragraph following Paragraph 67 of the

Complaint, including subsections (1)-(8), Defendants deny all factual

allegations and deny that Plaintiff is entitled to any relief in this action. Further,

Defendants deny that there will be any claims to be tried by a jury.

                               GENERAL DENIAL

      All allegations in the Complaint not expressly admitted are denied.

                                 FIRST DEFENSE

      Plaintiff has failed to state a claim upon which relief can be granted.

                               SECOND DEFENSE

      If any of the unlawful acts and omissions alleged in the Complaint were

engaged in by Defendants, which Defendants vigorously deny, they did not

engage in such acts or omissions knowingly, intentionally or willfully, and

therefore, Plaintiff’ claims for liquidated damages are barred.

                                          7
                                                                  www.spirelawfirm.com
                                                                  Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 8 of 9




                                THIRD DEFENSE

      If any of the unlawful acts and omissions alleged in the Complaint were

engaged in by Defendants, which Defendants vigorously deny, Plaintiff’s claims

are barred by workers compensation.

                               FOURTH DEFENSE

      Plaintiff’s claims are barred because Defendants exercised reasonable care

to prevent and correct any sexually harassing behavior by establishing and

disseminating an anti-harassment policy, but Plaintiff unreasonably failed to report

harassment under the policy.

                                FIFTH DEFENSE

      Defendant cannot fully anticipate all defenses which may be applicable to

this action. Accordingly, the right to assert additional defenses, to the extent such

defenses are applicable, is hereby reserved.

                                        Respectfully submitted,

                                               SPIRE LAW, LLC
                                               2572 W. State Road 426
                                               Suite2088
                                               Oviedo, Florida 32765

                                               By:/s/ Ian E. Smith
                                               Ian E. Smith, Esq.
                                               Georgia Bar No. 661492
                                               Whitney M. DuPree, Esq.

                                         8
                                                                 www.spirelawfirm.com
                                                                 Employment Attorneys
   Case 1:23-cv-00394-TWT-JKL Document 9 Filed 03/20/23 Page 9 of 9




                                               Georgia Bar No. 880909
                                               ian@spirelawfirm.com
                                               whitney@spirelawfirm.com
                                               filings@spirelawfirm.com
                                               Attorneys for Defendants


                          CERTIFICATE OF SERVICE

      I hereby certify that on this 20th day of March, 2023, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.

                                                      /s/Ian E. Smith
                                                      Attorney




                                         9
                                                               www.spirelawfirm.com
                                                               Employment Attorneys
